      Case 3:17-cv-00490-DPJ-FKB Document 231 Filed 09/23/21 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF MISSISSIPPI
                                NORTHERN DIVISION


 COREY LILLY, KYLE SHETTLES, and
 JOHN MCGEE on behalf of themselves               Civil Action No.: 3:17-CV-490 DPJ-FKB
 and all others similarly situated,
                                                  Consolidated for discovery with:
                Plaintiffs,
        v.                                        Civil Action No.: 3:17-CV-517 DPJ-FKB

 KLLM TRANSPORT SERVICES, LLC,
 and DOES 1-25

                Defendants.

 CONSOLIDATED FOR PURPOSES OF
 DISCOVERY WITH:

 MARCUS BRENT JOWERS, and others
 similarly situated

                Plaintiffs,
        v.

 KLLM TRANSPORT SERVICES, LLC

                Defendant.



                FINAL JUDGMENT OF DISMISSAL WITH PREJUDICE

       Before the Court is the Joint Motion to Dismiss with Prejudice filed by the parties in

each of the consolidated cases. The Court has been advised this matter was settled on June 16,

2021, during a settlement conference with United States Magistrate Judge F. Keith Ball. The

Court having considered the Motion to Dismiss and the representations made therein concludes

the Joint Motion to Dismiss with Prejudice should be granted.
      Case 3:17-cv-00490-DPJ-FKB Document 231 Filed 09/23/21 Page 2 of 2




       IT IS THERFORE ORDERED that all claims brought by Plaintiffs Corey Lilly, Kyle

Shettles, John McGee, and Marcus Brent Jowers along with parties who have filed opt-in

notices, Charles Hallmark, James Johnson, Colton Miller, Donald Tillman, Sonya Carroll,

Marcus Moore and De-Antonio Watson (collectively “Plaintiffs”) shall be dismissed with

Prejudice. This Order is a Final Judgment of Dismissal with Prejudice of both 3:17-CV-490

and 3:17-CV-517.

       The Court will retain jurisdiction over the settlement of this matter.

       SO ORDERED AND ADJUDGED this the 22nd day of September, 2021.

                                              s/ Daniel P. Jordan III
                                              CHIEF UNITED STATES DISTRICT JUDGE


Submitted by:

Clark Monroe (MSB #9810)
Christopher G. Dunnells (MSB #105029)
DunbarMonroe, PLLC
270 Trace Colony Park
Ridgeland, MS 39157
Attorneys for Defendant
KLLM Transport Services, LLC

Agreed to by:

Joshua H. Haffner (adm. pro hac vice)
Haffner Law PC
445 S. Figueroa Street, Ste. 2625
Los Angeles, CA 90071
Attorneys for Plaintiff Marcus Brent Jowers


Danielle L. Perry (adm. pro hac vice)
5101 Wisconsin Ave NW, Ste. 305
Washington, D.C. 20016
Attorneys for Plaintiffs Corey Lilly,
Kyle Shettles, John McGee along with Opt-In Plaintiffs Charles Hallmark, James Johnson,
Colton Miller, Donald Tillman, Sonya Carroll, Marcus Moore and De-Antonio Watson


                                                 2
